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                 IN THE CIRCUIT COURT OF THE SECOND JUDICIAL CIRCUIT
                                    LAWRENCE COUNTY, ILLINOIS



  STEPHANIE E. WILLIAMS
  SHAWN R. WILLIAMS                                                                      OCT       5 2017
  VERA C. WILLIAMS,
                                                                                                       1
                    Plaintiff,                                                     CIRCUIT CL ,   LAWRENCE CO., ILL


                    V.                                        CASE NO. 2017- L -


  MISHIDA JUNICHI,
  AND TOYOTA BOSHOKU                                               PLAINTIFFS DEMAND TRIAL
  AMERICA, INC.
                                                                   BY JURY ON ALL COUNTS
                    Defendants.



                                               COMPLAINT
                                                 COUNT
                                       STEPHANIE E. WILLIAMS



           COMES now the Plaintiff, Stephanie E. Williams, by and through her attorney,
  Stephen J. Hough, for her Complaint against the Defendant, MISHIDA JUNICHI and
  TOYOTA BOSHOKU AMERICA, INC., states as follows:



           1.   That the Plaintiff is a resident of the State of Illinois.


          2. That Defendant, Mishida Junichi is a resident of the State of Indiana.



           3.   That Defendant, TOYOTA BOSHOKU AMERICA, INC. is a corporation doing
  business in Lawrence County, Illinois.

          4.    That on October 9, 2015, Plaintiff, Stephanie Williams was driving a 2010
  Chrysler van in a Westerly direction along County Road ( CR) 900 N. at its intersection
  of CR 1500 E in Lawrence County, Illinois.

           5.   That at the time and date aforementioned, the Defendant, Mishida Junichi

  was driving a 2015 Toyota Van in a Southerly direction on CR 1500 E. at its intersection
  with   CR 900 N.,      in Lawrence County, Illinois.


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                                                                                                    EXHIBIT B
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         6. That all times herein relevant, the Defendant, Mishida Junichi was an
  employee of   the Defendant, TOYOTA BOSHOKU AMERICA, INC., and was acting

  within the scope of his employment.



         7. That at the time, date and location aforementioned, the Defendant, Mishida

  Junichi, an employee of the Defendant, TOYOTA BOSHOKU AMERICA, INC. caused
  the vehicle he was driving, owned by Defendant, TOYOTA BOSHOKU AMERICA, INC.,
  to collide with the vehicle being driven by Plaintiff, Stephanie Williams, striking the
  Plaintiff's vehicle, causing the Plaintiff and her passengers, Shawn R. Williams and Vera
  C. Williams to be thrown about the vehicle she was driving, causing injuries to Plaintiff,
  Stephanie E. Williams.


         8. That said injuries to Plaintiff, Stephanie E. Williams caused her to be

  transported via ambulance to a hospital for treatment of these injuries.


         9. That at the time, date and location aforementioned, the Defendant, Mishida

  Junichi, an employee acting within his scope of employment, was guilty of one or more
  of the following acts of negligence:


                  a. Drove his vehicle at a speed that was unreasonable and improper given
  the circumstances of the roadway and traffic, in contravention of 625 ILCS 5/ 11- 601( a),
  the Illinois Vehicle Code.



                  b. Drove the vehicle too fast for conditions existing at the time in
  contravention     to 625 ILCS 5/ 11- 601(   a),   the Illinois Vehicle Code.



                  c. Failed to obey a Stop Sign, when being required to stop, in
  contravention     to 625 ILCS 5/ 11- 601(   a),   the Illinois Vehicle Code.



                  d. Failed to decrease speed while approaching and crossing an
  intersection in   contravention   to 625 ILCS 5/ 11- 601(            a),   the Illinois Vehicle Code.



                  e. Was operating his cell phone while driving.

         10. That as a direct and proximate result of the collision, negligent acts or

  omissions set forth above, the Plaintiff, Stephanie Williams was injured and caused to

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  be hospitalized, required emergency treatment, and was injured about her body, and
  head, and was unable to work.


          11.    That as a direct and proximate cause of the collision, negligent acts or
  omissions set forth above, the Plaintiff, Stephanie Williams incurred pain and suffering
  in the past, present and future, suffered emotional trauma, continues to suffer emotional
  traumas and will suffer emotional traumas in the future, and was forced to incur hospital
  and medical bills for her treatment and will have medical bills in the future; and missed
  work resulting in monetary loss, and will continue to incur monetary loss in the future.

         WHEREFORE, Plaintiff prays that this court enter judgment in favor of Plaintiff in
  a sum in excess of$ 50, 000. 00 together with cost of suit.




                                             COMPLAINT
                                              COUNT II
                                        STEPHANIE E. WILLIAMS



         COMES now the Plaintiff, Stephanie E. Williams, by and through her attorney,
  Stephen J. Hough, for her Complaint against the Defendant, MISHIDA JUNICHI AND
  TOYOTA BOSHOKU AMERICA, INC., states as follows:



         1.     That the Plaintiff is a resident of the State of Illinois.


         2.     That Defendant, TOYOTA BOSHOKU AMERICA, INC. is a corporation doing
  business in Lawrence County, Illinois.

         3. That     on   October 9, 2015,    at   3: 17 p. m., the Plaintiff, Stephanie Williams was

 driving a 2010 Chrysler van in a Westerly direction along County Road ( CR) 900 N. at
  its intersection   of   CR 1500 E.,   in Lawrence County, Illinois.

         4.     That at the time, date and location aforementioned, the Defendant, Mishida
 Junichi,     an employee of    the Defendant, TOYOTA BOSHOKU AMERICA, INC., acting

 within the scope of his employment, was driving a 2015 Toyota Van in a Southerly
 direction    on   CR 1500 E.   at   its intersection   with     CR 900 N.,   in Lawrence County, Illinois.


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         5. That all times herein relevant, the Defendant, Mishida Junichi, was an

  employee of   the Defendant, TOYOTA BOSHOKU AMERICA, INC., and was acting

  within the scope of his employment.


         6. That at the time, date and location aforementioned, the Defendant TOYOTA

  BOSHOKU AMERICA, INC.,            by and through it employee, Defendant, Mishida Junichi,
  acting within the scope of his employment, caused the vehicle he was driving, owned by
  Defendant, TOYOTA BOSHOKU AMERICA, INC.,                             to collide with the vehicle being
  driven by Plaintiff, Stephanie Williams, striking the Plaintiff's vehicle, causing the Plaintiff
  and her passengers, Shawn R. Williams and Vera C. Williams to be thrown about the
  interior of the vehicle she was driving, causing injuries to Plaintiff, Stephanie E.
  Williams.


         7. That said injuries to Plaintiff, Stephanie E. Williams caused her to be

  transported via ambulance to a hospital for treatment of these injuries.


         8. That at the time, date and location aforementioned, the Defendant, TOYOTA

  BOSHOKU AMERICA, INC.,            by and through its employee, Defendant, Mishida Junichi,
  acting within his scope of employment, was guilty of one or more of the following acts of
  negligence or omission:




                          a. Drove the vehicle he was operating at a speed that was
  unreasonable and improper given the circumstances of the roadway and traffic, in
  contravention of    625 ILCS 5/ 11- 601(    a),   the Illinois Vehicle Code.



                  b. Drove the vehicle too fast for conditions existing at the time in
  contravention     to 625 ILCS 5/ 11- 601(   a),   the Illinois Vehicle Code.



                  c. Failed to obey a Stop Sign, when being required to stop, in
  contravention     to 625 ILCS 5/ 11- 601(   a),   the Illinois Vehicle Code.



                  d. Failed to decrease speed while approaching and crossing an
  intersection in   contravention   to 625 ILCS 5/ 11- 601(            a),   the Illinois Vehicle Code.



                  e. Was operating his cell phone while driving.


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         9. That as a direct and proximate result of the collision, negligent acts or

  omissions set forth above, the Plaintiff, Stephanie Williams was injured and caused to

  be hospitalized, required emergency treatment, and was injured about her body, and
  head, and was unable to work.



         10. That as a direct and proximate cause of the collision, negligent acts or

  omissions set forth above, the Plaintiff, Stephanie Williams incurred pain and suffering
  in the past, present and future, suffered emotional trauma, continues to suffer emotional
  traumas and will suffer emotional traumas in the future, and was forced to incur hospital
  and medical bills for her treatment and will have medical bills in the future; and missed

  work resulting in monetary loss, and will continue to incur monetary loss in the future.

         WHEREFORE, Plaintiff prays that this court enter judgment in favor of Plaintiff in
  a sum in excess of$ 50, 000. 00 together with cost of suit.


                                                 COMPLAINT

                                                   COUNT III
                                             SHAWN R. WILLIAMS



         COMES now the Plaintiff, Shawn R. Williams, by and through his attorney,
  Stephen J. Hough, for his Complaint against the Defendant, MISHIDA JUNICHI AND
  TOYOTA BOSHOKU AMERICA, INC., states as follows:



         1.   That the Plaintiff is a resident of the State of Illinois.


         2. That Defendant, Mishida Junichi is a resident of the State of Indiana.



         3. That Defendant, TOYOTA BOSHOKU AMERICA, INC. is a corporation doing
  business in Lawrence County, Illinois.

         4. That on October 9, 2015, Plaintiff, Shawn Williams was a passenger in a 2010

  Chrysler    van   being   driven   by   Stephanie E. Williams,      in a Westerly direction along
  County Road ( CR) 900 N. at its intersection of CR 1500 E in Lawrence County, Illinois.

         5.    That at the time and date aforementioned, the Defendant, Mishida Junichi, an
  employee of       the Defendant, TOYOTA BOSHOKU AMERICA, INC., acting within the


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  scope of his employment, was driving a 2015 Toyota Van in a Southerly direction on CR
  1500 E.   at   its intersection   with   CR 900 N.,    in Lawrence County, Illinois.

         6. That at the time, date and location aforementioned, the Defendant, Mishida

  Junichi, an employee of the Defendant, TOYOTA BOSHOKU AMERICA, INC. caused

  the vehicle he was driving, owned by Defendant, TOYOTA BOSHOKU AMERICA, INC.,
  to collide with the vehicle in which the Plaintiff was a passenger, being driven by
  Stephanie Williams, striking the Plaintiff's vehicle, causing the Plaintiff to be hurled
  around the interior of the vehicle, causing injuries to Plaintiff, Shawn R. Williams.

         7. That at the time, date and location aforementioned, the Defendant, Mishida

  Junichi, an employee acting within his scope of employment, was guilty of one or more
  of the following acts of negligence:

                            a. Drove his vehicle at a speed that was unreasonable and

  improper given the circumstances of the roadway and traffic, in contravention of 625
  ILCS 5/ 11- 601(   a),   the Illinois Vehicle Code.



                   b. Drove the vehicle too fast for conditions existing at the time in
  contravention     to 625 ILCS 5/ 11- 601(     a),   the Illinois Vehicle Code.




                   c. Failed to obey a Stop Sign, when being required to stop, in
  contravention     to 625 ILCS 5/ 11- 601(     a),   the Illinois Vehicle Code.



                   d. Failed to decrease speed while approaching and crossing an
  intersection in    contravention    to 625 ILCS 5/ 11- 601(            a),   the Illinois Vehicle Code.



                   e. Was operating his cell phone while driving.

          8. That as a direct and proximate result of the collision, negligent acts or

  omissions set forth above, the Plaintiff, Shawn Williams sustained injuries to his left

  knee, suffered cuts, bruises and abrasions to his body, exacerbated an existing
  pancreatic condition, was caused to suffer pain and suffering in the past, present and
  future, suffered emotional trauma in the past, present, and future became liable for

  medical treatment, ambulance service, including helicopter, and continues to be liable

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  for medical treatment and bills and future medical treatment and bills; suffered in the
  past from emotional trauma, suffers emotional trauma in the present and will suffer
  emotional trauma in the future.


            9. That as a direct and proximate cause of the collision, negligent acts or

  omissions set forth above, the Plaintiff, Shawn Williams was caused to miss work,
  continue to miss work, and will miss work in the future; his residual effects of the injuries
  sustained in the collision; was caused to use and become liable for various medical
  apparatus to allow ambulation, was caused to be hospitalized and could be hospitalized

  in the future, and incurred physical therapy.

          WHEREFORE, Plaintiff prays that this court enter judgment in favor of Plaintiff in
  a sum   in   excess of $ 50, 000. 00           together with cost of suit.


                                                         COMPLAINT
                                                            COUNT IV
                                                  SHAWN R. WILLIAMS




          COMES now the Plaintiffs, Shawn R. Williams, by and through his attorney,
  Stephen J. Hough, for his Complaint against the Defendant, MISHIDA JUNICHI AND
  TOYOTA BOSHOKU AMERICA, INC., states as follows:



          1.    That the Plaintiff is a resident of the State of Illinois.


          2.    That Defendant, TOYOTA BOSHOKU AMERICA, INC. is a corporation doing
  business in Lawrence County, Illinois.

          3. That            on   October 9, 2015,     at   3: 17 p. m., the Plaintiff, Shawn Williams was a
  passenger         in   a   2010 Chrysler      van,   driven   by Stephanie   Williams,
                                                                     in a Westerly
  direction along County Road ( CR) 900 N. at its intersection of CR 1500 E in Lawrence
  County, Illinois.

          4.        That at the time and date aforementioned, the Defendant, Mishida Junichi, an
  employee of            the Defendant TOYOTA BOSHOKU AMERICA, INC.,                       acting within the
  scope of his employment, was driving a 2015 Toyota Van in a Southerly direction on CR
  1500 E.      at   its intersection     with   CR 900 N.,      in Lawrence County, Illinois.

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         5. That at the time, date and location aforementioned, the Defendant TOYOTA

  BOSHOKU AMERICA, INC.,            by and through it employee, Defendant, Mishida Junichi,
  acting within the scope of his employment, caused the vehicle he was driving, owned by
  Defendant, TOYOTA BOSHOKU AMERICA, INC.,             to collide with the vehicle being
  driven by Plaintiff, Stephanie Williams, causing the Plaintiff and passengers, Shawn R.
  Williams and Vera C. Williams to be thrown about the interior of the vehicle, causing
  injuries to Plaintiff, Shawn R. Williams.


         6. That at the time, date and location aforementioned, the Defendant, TOYOTA

  BOSHOKU AMERICA, INC.,            by and through its employee, Defendant, Mishida Junichi,
  an employee acting within his scope of employment, was guilty of one or more of the
  following acts of negligence or omission:


                          a. Drove the vehicle he was operating at a speed that was
  unreasonable and improper given the circumstances of the roadway and traffic, in
  contravention of    625 ILCS 5/ 11- 601(    a),   the Illinois Vehicle Code.



                  b. Drove the vehicle too fast for conditions existing at the time in
  contravention     to 625 ILCS 5/ 11- 601(   a),   the Illinois Vehicle Code.



                  c. Failed to obey a Stop Sign, when being required to stop, in
  contravention     to 625 ILCS 5/ 11- 601(   a),   the Illinois Vehicle Code.



                  d. Failed to decrease speed while approaching and crossing an
  intersection in   contravention   to 625 ILCS 5/ 11- 601(            a),   the Illinois Vehicle Code.



                  e. Was operating his cell phone while driving.

         7. That as a direct and proximate result of the negligent acts or omissions set

  forth above, the Plaintiff, Shawn Williams was injured and caused to be hospitalized,

  required emergency treatment, and was injured about his body, and head, and was
  unable to work.



          8. That as a direct and proximate cause of the collision and negligent acts or

  omissions set forth above, the Plaintiff, Shawn Williams incurred pain and suffering in
  the past, present and future, suffered emotional trauma, continues to suffer emotional

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  traumas and will suffer emotional traumas in the future, and was forced to incur hospital
  and medical bills for his treatment and will have medical bills in the future; and missed
  work resulting in monetary loss, and will continue to incur monetary loss in the future.

         WHEREFORE, Plaintiff prays that this court enter judgment in favor of Plaintiff in
  a sum in excess of$ 50, 000. 00 together with cost of suit.


                                                   COMPLAINT
                                                    COUNT V
                                               VERA C. WILLIAMS


         COMES now the Plaintiff, Vera C. Williams, by and through her attorney,
  Stephen J. Hough, for her Complaint against the Defendant, MISHIDA JUNICHI AND
  TOYOTA BOSHOKU AMERICA, INC., states as follows:



         1.    That the Plaintiff is a resident of the State of Illinois.


         2. That Defendant, Mishida Junichi is a resident of the State of Indiana.



         3.    That Defendant, TOYOTA BOSHOKU AMERICA, INC. is a corporation doing
  business in Lawrence County, Illinois.

         4. That on October 9, 2015, Plaintiff, Vera Williams was a passenger in a 2010

  Chrysler    van    being   driven   by   Stephanie E. Williams,
                                                       in a Westerly direction along
  County Road ( CR) 900 N. at its intersection of CR 1500 E in Lawrence County, Illinois.

         5.        That at the time and date aforementioned, the Defendant, Mishida Junichi, an
  employee of        the Defendant, TOYOTA BOSHOKU AMERICA, INC.,                   acting within the
  scope of his employment, was driving a 2015 Toyota Van in a Southerly direction on CR
  1500 E.     at   its intersection   with   CR 900 N.,   in Lawrence County, Illinois.

         6. That at the time, date and location aforementioned, the Defendant, Mishida

  Junichi, an employee of the Defendant, TOYOTA BOSHOKU AMERICA, INC. caused
  the vehicle he was driving, owned by Defendant, TOYOTA BOSHOKU AMERICA, INC.,
  to collide with the vehicle in which the Plaintiff was a passenger, being driven by
  Plaintiff, Stephanie Williams, striking the Plaintiff's vehicle, causing the Plaintiff to be
  hurled around the interior of the vehicle, causing injuries to Plaintiff, Vera C. Williams.

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          7. That at the time, date and location aforementioned, the Defendant, Mishida

   Junichi, an employee acting within his scope of employment, was guilty of one or more
   of the following acts of negligence:

                   a. Drove his vehicle at a speed that was unreasonable and improper given
   the circumstances of the roadway and traffic, in contravention of 625 ILCS 5/ 11- 601( a),
   the Illinois Vehicle Code.



                   b. Drove the vehicle too fast for conditions existing at the time in
   contravention     to 625 ILCS 5/ 11- 601(   a),   the Illinois Vehicle Code.



                   c. Failed to obey a Stop Sign, when being required to stop, in
   contravention     to 625 ILCS 5/ 11- 601(   a),   the Illinois Vehicle Code.



                   d. Failed to decrease speed while approaching and crossing an
   intersection in   contravention   to 625 ILCS 5/ 11- 601(         a),   the Illinois Vehicle Code.



                   e. Was operating his cell phone while driving.

           8. That as a direct and proximate result of the negligent acts or omissions set

   forth above, the Plaintiff, Vera Williams was injured and caused to be hospitalized,
   required emergency treatment, and was injured about her body, and head, and was
   unable to work.



           9. That as a direct and proximate cause of the collision and negligent acts or

   omissions set forth above, the Plaintiff, Vera Williams incurred pain and suffering in the
   past, present and future, suffered emotional trauma, continues to suffer emotional
   traumas and will suffer emotional traumas in the future, and was forced to incur hospital
   and medical bills for her treatment and will have medical bills in the future; and missed
   work resulting in monetary loss, and will continue to incur monetary loss in the future.

          WHEREFORE, Plaintiff prays that this court enter judgment in favor of Plaintiff in
   a sum in excess of$ 50, 000. 00 together with cost of suit.




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                                                    COMPLAINT
                                                       COUNT VI
                                                VERA C. WILLIAMS


          COMES now the Plaintiffs, Vera C. Williams, by and through her attorney,
   Stephen J. Hough, for her Complaint against the Defendant, MISHIDA JUNICHI AND
   TOYOTA BOSHOKU AMERICA, INC., states as follows:



          1.    That the Plaintiff is a resident of the State of Illinois.


          2.    That Defendant, TOYOTA BOSHOKU AMERICA, INC. is a corporation doing
   business in Lawrence County, Illinois.

          3. That       on   October 9, 2015,     at   3: 17 p. m., the Plaintiff, Vera Williams was a

   passenger in a 2010 Chrysler van, driven by Plaintiff, Stephanie Williams, in a Westerly
   direction along County Road ( CR) 900 N. at its intersection of CR 1500 E in Lawrence
   County, Illinois.

          4.        That at the time and date aforementioned, the Defendant, Mishida Junichi, an
   employee of        the Defendant TOYOTA BOSHOKU AMERICA, INC.,                           acting within the
   scope of his employment, was driving a 2015 Toyota Van in a Southerly direction on CR
   1500 E.     at   its intersection   with   CR 900 N.,   in Lawrence County, Illinois.

          5. That all times herein relevant, the Defendant, Mishida Junichi, was an

   employee of        the Defendant, TOYOTA BOSHOKU AMERICA, INC., and was acting

   within the scope of his employment.


          6. That at the time, date and location aforementioned, the Defendant TOYOTA

   BOSHOKU AMERICA, INC.,                 by and through it employee, Defendant, Mishida Junichi,
   acting within the scope of his employment, caused the vehicle he was driving, owned by
   Defendant, TOYOTA BOSHOKU AMERICA, INC.,                                to collide with the vehicle being
   driven by Plaintiff, Stephanie Williams, striking the Plaintiff's vehicle, causing the Plaintiff
   and her passengers, Shawn R. Williams and Vera C. Williams to be thrown about the
   interior of the vehicle she was driving, causing injuries to Plaintiff, Vera C. Williams.

          7. That at the time, date and location aforementioned, the Defendant, TOYOTA

   BOSHOKU AMERICA, INC.,                 by and through its employee, Defendant, Mishida Junichi,

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   an employee acting within his scope of employment, was guilty of one or more of the
   following acts of negligence or omission:


                           a. Drove the vehicle he was operating at a speed that was
   unreasonable and improper given the circumstances of the roadway and traffic, in
   contravention of    625 ILCS 5/ 11- 601(    a),   the Illinois Vehicle Code.



                   b. Drove the vehicle too fast for conditions existing at the time in
   contravention     to 625 ILCS 5/ 11- 601(   a),   the Illinois Vehicle Code.

                   c. Failed to obey a Stop Sign, when being required to stop, in
   contravention     to 625 ILCS 5/ 11- 601(   a),   the Illinois Vehicle Code.



                   d. Failed to decrease speed while approaching and crossing an
   intersection in   contravention   to 625 ILCS 5/ 11- 601(         a),   the Illinois Vehicle Code.



                   e. Was operating his cell phone while driving.

          8. That as a direct and proximate result of the negligent acts or omissions set

   forth above, the Plaintiff, Vera Williams was injured and caused to be hospitalized,

   required emergency treatment, and was injured about her body, and head, and was
   unable to work.



           9. That as a direct and proximate cause of the collision and negligent acts or

   omissions set forth above, the Plaintiff, Vera Williams incurred pain and suffering in the
   past, present and future, suffered emotional trauma, continues to suffer emotional
   traumas and will suffer emotional traumas in the future, and was forced to incur hospital
   and medical bills for her treatment and will have medical bills in the future; and missed

   work resulting in monetary loss, and will continue to incur monetary loss in the future.

          WHEREFORE, Plaintiff prays that this court enter judgment in favor of Plaintiff in
   a sum in excess of$ 50, 000. 00 together with cost of suit.




                     PLAINTIFFS DEMAND TRIAL BY JURY ON ALL COUNTS




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                                                  By:
                                                        STEPHEN J. HOUGH
                                                        LAW OFFICE of STEPHEN J. HOUGH
                                                        ARDC: 6192241
                                                        110 S. Whittle Avenue
                                                        Olney, IL 62450
                                                        Phone: 618- 395- 6181
                                                        Email: SteveHoughLaw@gmail.com




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                                           AFFIDAVIT OF ATTORNEY


           The Plaintiffs attorney, STEPHEN J. HOUGH, being first duly sworn upon his
    oath, states:

           1.          That Affiant is the attorney for the Plaintiff, SHAWN R. WILLIAMS.
           2.          That on his behalf, he has filed such in the Court of the Second Judicial

    Circuit,     Richland       County,   Illinois,   naming         Defendants,   MISHIDA    JUNICHI   AND

    TOYOTA BOSHOKU AMERICA, INC..

           3.          That in the    prayer    for damages, Plaintiff seeks damages in excess of

     50, 000     and    further,   money will reasonably and fairly compensate Plaintiff for his
    injuries, damages and costs of suit.

           4.          That Plaintiff seeks in excess of$ 50, 000.

           5.          To the knowledge and belief of Plaintiffs attorney, the amount sought by
    Plaintiff in excess of$ 50, 000 is reasonable.


               Further Affiant sayeth not.


    DATED THIS                   day of October, 2017.


                                                                      TEPHE    TP60PH


               Subscribed    and sworn     to before    me    this    2    day of October, 2017.
                                                                                          1
                        seal)                         AL



                                                                     qotaPubt)
                                                      NELL
                                          CO3         OF ILLINOIS
                                                      ndm4   mi




    INSTRUMENT PREPARED BY:


    Stephen J. Hough, Attorney at Law
    110 S. Whittle Ave.
    Olney, IL 62450
    618- 395- 6181
    ARDC: 6192241
    Phone: ( 618) 395- 6181
    SteveHoughLaw@gmail. com
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                                             AFFIDAVIT OF ATTORNEY

          The Plaintiff' s attorney, STEPHEN J. HOUGH,                              being first duly sworn upon his
   oath, states:


              1.         That Affiant is the attorney for the Plaintiff, STEPHANIE E. WILLIAMS.
          2.             That on her behalf, he has filed such in the Court of the Second Judicial
   Circuit,        Richland      County, Illinois, naming                   Defendants,   MISHIDA    JUNICHI   AND

   TOYOTA BOSHOKU AMERICA, INC..

          3.             That in the      prayer   for damages, Plaintiff seeks damages in excess of

    50, 000        and    further,   money will reasonably and fairly compensate Plaintiff for her
   injuries, damages and costs of suit.

          4.             That Plaintiff   seeks    in   excess of $ 50, 000.

          5.             To the knowledge and belief of Plaintiff's attorney, the amount sought by
   Plaintiff in excess of$ 50, 000 is reasonable.


          Further Affiant sayeth not.

   DATED THIS                     day of October, 2017.



                                                                            STEPHEN J. (,      UGH
                                                                                          1.


          Subscribed          and sworn     to before        me      this         day of October, 2017.

                         seal)




   INSTRUMENT PREPARED BY:
                                                          ALNELLEaKj
                                                          Of IllIN01S
                                                          04/ 05/ 2021
                                                                            NotaryPubli



  Stephen J. Hough, Attorney at Law
   110 S. Whittle Ave.
  Olney, IL 62450
  618- 395- 6181
  ARDC: 6192241
  Phone: ( 618) 395- 6181
  SteveHoughLaw@gmail. com
Case 3:17-cv-01253-NJR-GCS Document 1-2 Filed 11/17/17 Page 16 of 16 Page ID #21




                                                   AFFIDAVIT OF ATTORNEY

          The Plaintiff' s attorney, STEPHEN J.                              HOUGH, being first duly sworn upon his
   oath, states:


              1.         That Affiant is the attorney for the Plaintiff, VERA C. WILLIAMS.
          2.             That on her behalf, he has filed such in the Court of the Second Judicial
   Circuit,        Richland      County,           Illinois,       naming        Defendants,    MISHIDA   JUNICHI   AND

   TOYOTA BOSHOKU AMERICA, INC..

          3.             That in the         prayer        for damages, Plaintiff seeks damages in excess of

    50, 000        and    further,    money will reasonably and fairly compensate Plaintiff for her
   injuries, damages and costs of suit.

          4.             That Plaintiff       seeks       in   excess of$        50, 000.

          5.
                         To the knowledge and belief of Plaintiff's attorney, the amount sought by
   Plaintiff in excess of$ 50, 000 is reasonable.


          Further Affiant sayeth not.

   DATED THIS              `      day of October, 2017.                                     1




                                                                                 S EPHEN ' . HOU



          Subscribed           and sworn           to before         me   this          day of October, 2017.
                                              OFFICIAL SEAL
                                           NANCY J OCONNELL
                         seal)       NOTARY PUBLIC; STATE OF ILLINOIS
                                      My Commission Expires 04/ 05/2021
                                                                             V)dkno
                                                                                  of ry P b i
   INSTRUMENT PREPARED BY:


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